




NO. 07-08-0238-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



FEBRUARY 27, 2009

______________________________



CALLIE N. LONG, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 140TH DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2003-404322; HONORABLE BRADLEY UNDERWOOD, JUDGE

_______________________________





Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

ABATEMENT AND REMAND

On June 3, 2008, appellant, Callie N. Long, filed a notice of appeal from a conviction for failure to stop and render aid and the resulting sentence of six months in county jail. &nbsp;The clerk’s record was filed on July 9 and the reporter’s record was filed on August 5. &nbsp;

Since that time, this Court has granted four extensions of time for filing appellant’s brief. &nbsp;The appellate clerk has also sent two late notices and informed appellant that the failure to comply with the imposed deadline to file the brief may result in the appeal being abated and the cause being remanded to the trial court for further proceedings. &nbsp;
See 
Tex. R. App. P. 38.8(b). &nbsp;The Court last extended the due date to February 6, 2009. &nbsp;As of this date, appellant’s brief has not been filed.

Accordingly, we now abate this appeal and remand the cause to the trial court for further proceedings. &nbsp;
See
 Tex. R. App. P. 38.8(b)(2), (3). &nbsp;On remand, the trial court shall conduct a hearing pursuant to Rule 38.8(b)(2) and (3) to: (1) determine whether appellant desires to prosecute her appeal; (2) determine whether appellant is indigent, or if not indigent, whether retained counsel has abandoned the appeal; and (3) to make appropriate findings and recommendations. &nbsp;Tex. R. App. P. 38.8(b)(2). &nbsp;Should it be determined that appellant does want to continue the appeal and the court determines that present counsel should be replaced, the name, address, telephone number, and state bar number of the newly-appointed or newly-retained counsel shall be provided to the Clerk of this Court.

 The trial court is directed to: (1) conduct any necessary hearings; (2) make and file appropriate findings of fact and conclusions of law, and recommendations and cause them to be included in a supplemental clerk’s record; (3) cause the hearing proceedings to be transcribed and included in a supplemental reporter’s record; (4) have a record of the proceedings made to the extent any of the proceedings are not included in the supplemental clerk’s record or the supplemental reporter’s record; and (5) cause the records of the proceedings to be sent to this Court. &nbsp;Tex. R. App. P. 38.8(b)(3). &nbsp;In the absence of a request for extension of time from the trial court, the supplemental clerk’s record, supplemental reporter’s record, and any additional proceeding records, including any orders, findings, conclusions, and recommendations, are to be filed by March 27, 2009. 



It is so ordered. 



Per Curiam



Do not publish. &nbsp;


